              Case 23-10585-JKS                 Doc 314         Filed 05/14/24           Page 1 of 1


UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      23-10585

      JC USA, Inc.




      Case Type :                       bk
      Case Number :                     23-10585
      Case Title :                      JC USA, Inc.
      Judge :                           J K. Stickles
      Courtroom :                       5th Floor Courtroom 6, Wilmington, DE
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